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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: June 16, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                    Case No.   19-30822

                                                    Judge Humphrey
                                                    Chapter 7


 Order: (1) Granting in Part Motion to Reschedule Evidentiary Hearing (doc. 191) and Motion
   for Expedited Disposition (doc. 192); (2) Vacating Evidentiary Hearing; (3) Setting Oral
      Argument on Criminal Contempt Legal Issues; (4) Setting Hearing on Motion to
      Conduct Discovery (doc. 190); (4) Requiring Filings; and Ordering Other Matters

         On May 28, 2020 the court entered an order (doc. 182), which scheduled an
 evidentiary hearing for June 25, 2020 concerning Kenneth Kayser, Ronald E. Earley, and
 Jonathan Hager, (the “Petitioning Creditors”) Motion to Hold Tagnetics Inc. in Criminal
 Contempt (doc. 181) and to show cause why Tagnetics’ should not be held in civil contempt
 for failure to comply with the court’s prior orders (docs. 119 & 169). In addition to scheduling
 an evidentiary hearing, the court’s Order (doc. 182) set a date for filing responses to the
 Motion for Criminal Contempt and dates for other required filings.

        On June 12, 2020 Tagnetics filed an Opposition to Motion to Hold Tagnetics in Criminal
 Contempt (doc. 186), a Motion to Conduct Discovery Related to Tortious Conduct Directed at
 Tagnetics (doc. 190), and a Motion to Reschedule Evidentiary Hearing (doc. 191). In addition,
 Tagnetics filed a Motion for Expedited Disposition (doc. 192) requesting that the court
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 determine the foregoing issues on an expedited basis, prior to conducting the evidentiary
 hearing.

        Upon review of the foregoing filings, Tagnetics’ Motion to Reschedule Evidentiary
 Hearing (doc. 191) and Motion for Expedited Disposition (doc. 192) are granted in part.

        Accordingly, the court’s scheduling order (doc. 182) is vacated to the extent that it
 set an evidentiary hearing and established dates for filing witness lists, exhibit lists and
 proposed exhibits.

         Further, on June 25, 2020 at the time of the originally scheduled evidentiary hearing
 (1:30 p.m. (Eastern Time)) the court shall hear oral argument and intends to rule on the
 issue of whether it has the authority to conduct a criminal contempt proceeding and to
 issue a criminal contempt sanction (docs. 181 & 186) and Tagnetics’ motion to conduct
 discovery (doc. 190). The court will render an oral decision on both of those matters
 following oral argument. The court also intends to establish at that time a new date for the
 evidentiary hearing on the civil contempt matter and any other matters that remain
 pending, including any criminal contempt hearing should the court determine that it has the
 authority to proceed with the criminal contempt contested matter.

        Counsel for Tagnetics and each of the Petitioning Creditors shall participate in the
 hearing which will be conducted telephonically on June 25, 2020 at 1:30 p.m. (Eastern Time).
 The parties will be provided the information for joining the call prior to the telephonic
 hearing. The court will not be using videoconferencing for this hearing since there will be no
 evidentiary presentations.

        The Petitioning Creditors shall file any reply memoranda regarding the criminal
 contempt legal issues (docs. 181 & 186) and any response to Tagnetics’ Motion to Conduct
 Discovery Related to Tortious Conduct Directed at Tagnetics (doc. 190) not later than June 22,
 2020 at 12:00 p.m. (noon) (Eastern Time).

        The Clerk’s office is not presently open for filing at the counter. Pro se filers must
 submit filings either by mail or by bringing them to the court and placing them in the
 Clerk’s Office drop box just inside the main entrance. Unless otherwise ordered for cause
 shown, all filings received by mail will be file-stamped and entered on the docket with the
 date they are received by the court being the filing date on the court’s docket. Attorneys
 must file filings through the court’s Case Management/Electronic Case Filing (CM/ECF)
 system.

        All other relief sought in the Tagnetics’ Motion to Reschedule Evidentiary Hearing (doc.
 191) and Motion for Expedited Disposition (doc. 192) is denied.

        IT IS SO ORDERED.


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 Copies to: All Creditors and Parties in Interest, Plus

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